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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


ROADGET BUSINESS PTE. LTD.,

                              Plaintiff,                    Case No.: 1:23-cv-16262

       vs.

THE INDIVIDUALS, CORPORATIONS,                              Judge Jeffrey I. Cummings
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A
TO THE COMPLAINT,

                              Defendants.


             PLAINTIFF’S UNOPPOSED MOTION FOR EXTENSION OF TIME

       Pursuant to Rule 6(b)(1)(A), Plaintiff Roadget Business Pte. Ltd. (“Roadget”)

respectfully requests this Court extend the time to file an amended complaint to plead additional

facts in support of joinder, by 28 days, to November 8, 2024. Defendants do not oppose this

motion. No prior extensions were sought. In support of its request, Roadget states as follows:

        1.     This Court issued an order on September 27, 2024 (Dkt. 101) granting in part and

denying in part Defendants’ Motion to Dismiss or, Alternatively, to Sever (Dkt. 49). As part of

its order, the Court granted Roadget “leave to file an amended complaint by October 11, 2024 to

plead additional facts in support of joinder.” Dkt. 101, at 17.

        2.     The parties are in the midst of settlement negotiations and anticipate settling as to

some or all of the Defendants. Roadget requires additional time to determine whether filing an

amended complaint will be necessary in light of the progress of settlement.

        3.     Accordingly, Roadget respectfully requests an extension of the time to file an

amended complaint by four weeks until November 8, 2024.

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October 4, 2024                        Respectfully submitted,

                                       By: /s/ Steven J. Horowitz
                                        Steven J. Horowitz
                                        Matthew D. Binder
                                        Deepa A. Chari
                                        Taylor Wilson
                                        Michael Springer-Ingram
                                        SIDLEY AUSTIN LLP
                                        One South Dearborn Street
                                        Chicago, IL 60603
                                        (312) 853-7000
                                        shorowitz@sidley.com
                                        mbinder@sidley.com
                                        dchari@sidley.com
                                        taylor.wilson@sidley.com
                                        mspringeringram@sidley.com

                                          Counsel for Plaintiff
                                          Roadget Business Pte. Ltd




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